                Case 2:95-cr-00235-WBS Document 321 Filed 01/06/12 Page 1 of 3


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 3   (916) 443-8055
 4
     Attorney for Defendant
 5   PABLO CASTRO MARRON
 6                               IN THE UNITED STATES DISTRICT COURT
 7
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                       Case No.: 95-235 EJG
10
                          Plaintiff,                 STIPULATION AND ORDER
11
                                                     VACATING TRIAL DATES,
12            v.                                     CONTINUING CASE, AND
                                                     EXCLUDING TIME
13   PABLO CASTRO MARRON,
14                                                   DATE: January 6, 2012
                                                     TIME: 10:00 a.m.
15                        Defendant.
                                                     JUDGE: Hon. Edward J. Garcia
16
17   IT IS HEREBY STIPULATED by and between Assistant United States Attorneys
18   William Wong and Todd Pickles, Counsel for Plaintiff, and Attorney Clemente M.
19   Jiménez, Counsel for Defendant PABLO CASTRO MARRON, that the trial confirmation
20   hearing scheduled for January 6, 2012, at 10:00 a.m., and the trial scheduled to
21   commence on January 23, at 9:00 a.m., be vacated. The defense has filed a Motion to
22   Dismiss the Indictment. The parties propose the following dates:
23   Defense motion to be filed by January 3, 2012; the government’s response to be filed by
24   January 27, 2012; defense reply to be filed by January 31, 2012; and the matter set for a
25   non-evidentiary hearing on February 10, 2012, at 10:00 a.m. Based on the outcome of
26   the motion, the parties can select future dates as necessary.
27            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
28   U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(7)(A) and (B)(iv),



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     01/05/12
                Case 2:95-cr-00235-WBS Document 321 Filed 01/06/12 Page 2 of 3


 1   (Local code T-4), and that the ends of justice served in granting the continuance and
 2   allowing the defendants further time to prepare outweigh the best interests of the public
 3   and the defendant to a speedy trial.
 4
 5   DATED:               January 5, 2012      /S/    William Wong___________
                                                      WILLIAM WONG
 6                                                    Attorney for Plaintiff
 7
                                               /S/    Todd Pickles_____________
 8                                                    TODD PICKLES
 9                                                    Attorney for Plaintiff
10                                             /S/    Clemente M. Jiménez________
11                                                    CLEMENTE M. JIMÉNEZ
                                                      Attorney for Pablo Castro Marron
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 1                                             ORDER
 2
     IT IS SO ORDERED, that the trial confirmation hearing in the above-entitled matter,
 3
     scheduled for January 6, 2012, at 10:00 a.m., and the trial scheduled to commence on
 4
     January 23, 2012, at 9:00 a.m., be vacated and the matter set for a non-evidentiary
 5
     hearing on the defense’s motion to dismiss the indictment on February 10, 2012, at 10:00
 6   a.m. The Court finds that time under the Speedy Trial Act shall be excluded through
 7   February 10, 2012 in order to afford counsel reasonable time to prepare. Based on the
 8   parties’ representations, the Court finds that the ends of justice served by granting a
 9   continuance outweigh the best interests of the public and the defendants to a speedy trial.
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11   This 5th day of January, 2012
12                                                     /s/ Edward J. Garcia
13                                                     HON. Edward J. Garcia
                                                       United States District Judge
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